Case 2:05-cr-20227-SH|\/| Document 10 Filed 07/20/05 Page 1 of 2 Page|D 9

IN THE UNITED sTATEs DIsTRICT coUR'r FELED 2 15 iii-m D'C-
FoR THE WESTERN DISTRICT oF TENNESSEE

    
 

 

WESTERN DIvIsIoN 05 JUL 20 AH H’ 25
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UNITED sTATEs oF AMERICA `
v. No. (9 6~ 2,¢322'7-//\‘|

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ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER TI-IE SPEEDY TRIAL ACT

 

 

The defendant has this day notified the Court that he or she is attempting to obtain private
counsel to represent him or her in this action. Pursuant to the Speedy Trial Act, as set out in 18
U.S.C. §3161(11)(8)(B)(iv), a defendant may be granted a period of excludable delay While
attempting to obtain private counsel. It is therefore ORDERED that the time period of

q /gp ¢' 5- through, § l 210 § be excluded from the time its imposed by the Speedy Trial

Act for trial of this case, While the defendant is attempting to obtain private counsel

This £Q+Hday or 231a/42 _.200;(5`

UNITED STATES MAGISTRATE JUDGE

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UNITD sATES DISTRIC COURT - WETERN DISITRCT OF TENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20227 Was distributed by faX, mail, or direct printing on
.luly 22, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

